                      IN THE SUPREME COURT OF NORTH CAROLINA

                                           2021-NCSC-142

                                             No. 506A20

                                       Filed 5 November 2021

      IN THE MATTER OF: N.K.



            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 2

     October 2020 by Judge April C. Wood in District Court, Davie County. This matter

     was calendared for argument in the Supreme Court on 30 September 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


            Holly M. Groce for petitioner-appellee Davie County Department of Social
            Services.

            Kip David Nelson for appellee Guardian ad Litem.

            Peter Wood for respondent-appellant mother.


            BERGER, Justice.

¶1          Respondent appeals from an order terminating her parental rights1 to N.K.

     (Nancy),2 born in September 2016. Counsel for respondent filed a no-merit brief

     pursuant to Rule 3.1(e) of the North Carolina Rules of Appellate Procedure.

¶2          On November 2, 2016, the Davie County Department of Social Services (DSS)


            1 The trial court also terminated the parental rights of Nancy’s father; however, he

     did not appeal and is not a party to this proceeding.
            2 Pseudonyms are used in this opinion to protect the juvenile’s identity and for ease of

     reading.
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                                         2021-NCSC-142

                                       Opinion of the Court



     filed a petition alleging that Nancy was a neglected and dependent juvenile, and DSS

     obtained a nonsecure custody order. The petition alleged that Nancy’s older half-

     sibling, Carl, was assaulted by a family friend in Nancy’s presence, and respondent

     did not intervene or stop the attack.

¶3         In a subsequent interview with Carl, DSS noted bruising and marks on Carl’s

     body, including his back, face, neck, arms, side, and legs. Carl disclosed that the

     family friend, who often acted as a caretaker for him and Nancy, regularly hit him

     with a belt and that respondent had hit him on the legs with a tire iron. Respondent

     denied any knowledge of how Carl obtained the marks on his body, though she

     acknowledged the family friend often supervised him. Additional information was

     provided that Nancy was exposed to threats by her father, and drug use and other

     acts of domestic violence by respondent. Respondent, the children’s father, and the

     family friend were arrested on charges related to the assaults on Carl.

¶4         Respondent entered into a case plan with DSS on November 8, 2016. The case

     plan required her to communicate regularly with DSS and attend, complete, and

     follow any necessary recommendations from a substance abuse assessment, a

     psychological evaluation, and separate parenting assessments.             In addition,

     respondent was required to provide proof of employment and income, proof of current

     residence and stability in maintaining that residence, proof of a job search if she

     became unemployed, and proof of reliable transportation.
                                           IN RE N.K.

                                          2021-NCSC-142

                                        Opinion of the Court



¶5         Following an adjudication hearing, the trial court entered an order on

     December 21, 2016, concluding that Nancy was a neglected juvenile.               In an

     accompanying disposition order, the trial court ordered respondent to comply with

     her case plan by completing a psychological evaluation, completing a parenting

     assessment, completing a substance abuse assessment, and complying with any

     recommendations. The court also ordered that Nancy remain in DSS custody and

     authorized twice-weekly supervised visitation.

¶6         After the initial permanency-planning hearing, the trial court entered an order

     on March 13, 2017, establishing a primary permanent plan of reunification with a

     concurrent plan of guardianship with a court-approved caretaker.            In light of

     respondent’s lack of progress with the requirements of her case plan and an increase

     in substance abuse and domestic violence, the trial court changed the primary

     permanent plan to adoption with a secondary plan of reunification. Nancy was moved

     to a potential adoptive placement following that permanency-planning hearing.

¶7         Due to respondent’s continued failure to make “any significant progress”

     toward her case plan requirements, the trial court changed the secondary plan to

     guardianship, and, in a January 27, 2020 permanency-planning order, relieved DSS

     of continued reunification efforts. The trial court also directed DSS to file a petition
                                            IN RE N.K.

                                           2021-NCSC-142

                                         Opinion of the Court



     to terminate respondent’s parental rights.3

¶8         On April 8, 2020, DSS filed a second petition to terminate respondent’s

     parental rights on the grounds of neglect, willfully leaving Nancy in foster care for

     more than twelve months without a showing of reasonable progress, and respondent

     having her parental rights to another child terminated.             See N.C.G.S. § 7B-

     1111(a)(1)–(2), (9) (2019). Following a hearing , the trial court entered an order on

     October 2, 2020, terminating respondent’s parental rights. The trial court concluded

     grounds existed to terminate her parental rights based on the grounds of neglect and

     willful failure to make reasonable progress.4         The trial court made findings of

     respondent’s continued substance abuse, positive drug screens up to the month of the

     termination hearing, and issues with domestic violence that resulted in her

     incarceration at the time of the hearing. Further, the trial court found respondent

     had failed to make any progress on the requirements of her case plan. The trial court

     concluded it was in Nancy’s best interests that respondent’s parental rights be

     terminated. See N.C.G.S. § 7B-1110(a) (2019). Respondent appeals.



           3  DSS previously filed a petition to terminate respondent’s parental rights on
     November 14, 2018, on the grounds of neglect and willfully leaving Nancy in foster care for
     more than twelve months without a showing of reasonable progress, See N.C.G.S. § 7B-
     1111(a)(1)–(2) (2019). However, the trial court dismissed that petition upon concluding DSS
     had failed to present sufficient evidence that grounds existed to terminate respondent’s
     parental rights.
            4 The trial court did not conclude grounds existed to respondent’s parental under

     N.C.G.S. § 7B-1111(a)(9) because respondent appealed the termination order related to that
     child and the matter was pending at the Court of Appeals.
                                             IN RE N.K.

                                           2021-NCSC-142

                                         Opinion of the Court



¶9           Counsel for respondent filed a no-merit brief on his client’s behalf under Rule

       3.1(e) of the Rules of Appellate Procedure. Counsel identified three issues that could

       arguably support an appeal but also explained why he believed these issues lacked

       merit. Counsel advised respondent of her right to file pro se written arguments on

       her own behalf and provided her with the documents necessary to do so. Respondent

       has not submitted written arguments to this Court.

¶ 10         We independently review issues identified by counsel in a no-merit brief filed

       pursuant to Rule 3.1(e). In re L.E.M., 372 N.C. 396, 402, 831 S.E.2d 341, 345 (2019).

       After considering the entire record and reviewing the issues identified in the no-merit

       brief, we conclude that the order terminating respondent’s parental rights is

       supported by clear, cogent, and convincing evidence and is based on proper legal

       grounds. Accordingly, we affirm the order of the trial court.

             AFFIRMED.
